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                                 SETTLEMENT AGREEMENT

          This Settlement Agreement ("Agreement") is made and entered into on this 30th day of

December 2019(the "Effective Date") by and among NGK Spark Plug Co., Ltd. and NGK Spark

Plugs (U.S.A.), Inc. (collectively "NGK Spark Plugs") and the Attorney General of the State of

California ("California AG"), on behalf of the State of California, including its state

agencies,("California"), and the Attorney General ofthe State of Florida ("Florida AG"),on behalf

of the State of Florida, including its departments, commissions, divisions, agencies, counties,

municipalities, and any other entity that is an arm of the State of Florida, and the predecessors,

successors, administrators and assigns of any of the foregoing ("Florida"). The California AG

and the Florida AG are hereafter referred to as the "State AGs" and California and Florida are

hereinafter referred to as the "Settling States."

          WHEREAS, the State AGs are investigating possible violations of the federal antitrust

laws,including Section 1 ofthe Sherman Act, as well as violations oftheir respective state antitrust

and unfair competition laws, including California Business and Professions Code Sections 16720

et seq., California Business and Professions Code Sections 17200 et seq., the Florida Antitrust Act,

and the Florida Deceptive and Unfair Trade Practices Act, related to the possible suppression and

elimination of competition by the fixing of prices for spark plugs, standard oxygen sensors, and

air fuel ratio sensors (collectively, the "Released Parts");

          WHEREAS, the State AGs believe that NGK Spark Plugs and its predecessors

manufactured the Released Parts that were installed in automobiles purchased by the Settling

States;

          WHEREAS, the State AGs believe they have valid claims for damages, penalties, and

attorneys' fees against NGK Spark Plugs and litigation is warranted, but nevertheless believe that
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   resolving their claims against NG.K Spark Plugs according to the terms of this Agreement is in the

   best interest of the Settling States in advancing their investigations;

           W HEREAS, NGK Spark Plugs has entered into separate class action settlement

   agreements ("Class Action Settlement Agreements") with the following groups: (1) plaintiffs

   pu'rporting to represent a class whose members include automobile dealership purchasers of the

   Released Paris("Automobile Dealership Plaintiffs") in In re Automotive Parts Antitrust Litigation,

   Master File No, 2;124nd-0231 1 (E,D. Mich,), Case No. 2:15-ev-03002 (the "Automobile

   Dealership Action"); and (2) plaintiffs representing a class WhoSe members include end-user

   purchasers of the Released Parts ("End-Payor Plaintiffs") in In re Automotive Parts Antitrust

   Litigation, Master File No,2;12-1nd-023 I I (E.D. Mich,), Case No,2;15-ov-03003(the "End-Payor

   Action")(collectively, the Automobile Dealership Action and th.e End-Payor Action are referred

   to as the "Actions");,(In re Automotive Parts Antitrust Litigation, Master File No.2:1 2-md-023 1 1

  (ED. Mich..) is referred to as the "MDL Litigation");

           'WHEREAS, the Class Action Settlement Agreements will result in th'e dismissal and

   release of claims by the automobile dealership purchaser class and end-user purdhaser class;

           WHEREAS, NGK Spark Plugs, without any concession or admission of wrongdoing and

   despite its belief that the Released Parties (as defined below) are not liable for the claims that have

   been or could be asserted by the Settling States, and its belief that the Released Parties (as defined

   below) would .have good defenses thereto, has nevertheless agreed to enter into this Agreement to

   avoid further expense, inconvenience, and. the distraction of burdensome and .potential future

   litigation, and to obtain the dismissal and releases contemplated by this Agreement, and to put to

   rest with finality all claims that could have been asserted against NGK Spark Plugs and the other

   Released Parties (as defined below) by the Settling States;
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         NOW,THEREFORE,in consideration ofthe covenants, agreements, and releases set forth

  herein and for other good and Valuable) consideration, it is agreed by and among the California AG,

  on behalf of California, the Florida AG, on behalf of Florida, and NGK Spark Plugs, that all

  Released Claims (as defined below) shall be finally, fully, and forever settled, compromised and

  released, with prejudice and,except as provided herein, without additional attorneys' fees or costs,

  on the following terms and conditions:

          1,     MK Spark Plugs shall make a payment to the California AG in the amount of

  $279,166,67("California Settlement A.mount"). The California Settlement Amount shall be used

  as payment for damages allegedly arising from any purchases or leases by California of the

  Released Parts or vehicles containing the Released Parts, and for attorneys' fees and other costs,

  The California AG shall provide NOK Spark Plugs with written payment processing instructions

  for payment by electronic transfer, NCi•K Spark Plugs shall pay the California AG within the later

  of(1) twenty (20)•calendar days after the Effective Date of this Agreement, or (2) twenty (20)

  calendar days of receiving written payment processing instructions from the California AG, No

  part of the California Settlement Amount paid by NGK Spark Plugs shall constitute, nor shall it be

  construed or treated as constituting, a payment for treble damages, fines, penalties, forfeitures, or

  punitive recoveries.

          2.     'NOK Spark Plugs shall make a payment to the Florida AC] in the amount of

  $139,583,33 ("Florida Settlement Amount"). The Florida Settlement Amount shall be used us

   payment for damages allegedly arising from any !purchases or leases by Florida of the Released

  Parts or vehicles containing the Released Parts, and far attorneys' fees and other costs, The Florida

   AG shall provide NOK Spark Plugs with written payment processing instructions for payment by

  electronic transfer, NOK Spark Plugs shall pay the Florida AO within the later of(I) twenty (20)


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  calendar days after the Effective Pate of this Agreement, or (2) twenty (20) calendar days of

   iTeeiving written payment processing instructions from the Florida AG. No part of the Florida

  Settlement Amount paid by NOK Spark Plugs shall constitute, nor shall it be construed or treated

  as constituting, a payment for treble damages, fines, penalties, forfeitures, or punitive recoveries.

                  The Settling States agree that, other than the settlement amounts, as listed in

   paragraphs I and 2 above, they shall have no other recovery of costs, fees, attorneys' fees,

  d amages, penalties, or injunctive or other,relief against NOK Spark Plugs or any         of the other
   Released Parties. Released Parties means (i) NOK Spark Plugs,(ii) all ofNGK Spark Plugs' past

  and present, direct and indirect, parents, subsidiaries, affiliates, and partnerships, including without

  limitation NOK Spark Plugs (U,S.A.)'Holding, Inc. and N'I'K Technologies, Inc„ as well as their

  respective predecessors, successors and. assigns, and (iii) each and all of the present and former

   principals,•partners, officers, directors, supervisors, employees, stockholders, members, insurers,

  attorneys, and assigns of each the persons and entities listed in (i) and (ii),

          4.      In consideration of the payment of the settlement amounts, as listed in paragraphs

   1 and 2 above, and for other good and valuable consideration Set forth in this Agreement, the

  sufficiency of which is hereby acknowledged, the Settling States hereby irrevocably and

  completely release, acquit, and forever discharge NGK Spark Plugs and all of the Released Parties

   from any and all claims, demands,judgments, actions, suits or causes of action, that are or could

   be asserted, whether known or unknown in any actions by or on behalf of the Settling States, or

   by or on behalf ofany of the entities included in the foregoing definitions of California and Florida,

   arising out of or relating to any act or omission of NGK Spark Plugs or any one or more of the

  other Released Parties or of persons or entities alleged to be co-conspirators ol'NGK Spark Plugs

   or any of the Released Parties concerning price-fixing, market allocation, bid-rigging, or any unfair


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   or deceptive anti-competitive conduct in the manufacture, sale, or distribution of the. Released

   Parts at any time prior to and through the Effective Date (collectively, the "Released Claims").

           5,      With respect to the Released Claims, California, and each of the entities included

   i n the .foregoing definition of California, expressly waive and release, upon this Agreement

   becoming final, any and all provisions, rights, and benefits conferred by § 1542 of the California

   Civil Code, which states:

           A GENERAL RELEASE DOES NOT'EXTEND TO CLAIMS '['FIAT THE CR:EDITOR
           OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
           HER FAVOR'AT THE. TIME OF EXECUTING THE RELEASE AND THAT, IF
           KNOWN13Y HIM OR HER,WOULD HAVE MATERIALLY AFFECT'DHIS OR HER
           SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY;
   or by any law of any state or territory of the United States, or principle ofcommon law, which is

           comparable, or equivalent to § 1542 of the California Civil Code, Florida, and each of the

   entities included in the foregoing definitions of Florida, similarly waives any analogous rule or

   provision of Florida law to the extent it: exists,

           6.      The Settling States and NOK Spark Plugs shall use their best efforts to effectuate

   this Agreement and its purpose. '.1.'o this end, the California AG and NOK Spark Plugs shall use

   their best efforts to effectuate this Agreement and its purpose, including filing a settlement

   Complaint for the Released Parts and an immediate, complete, and final dismissal with prejudice

   of such complaint as to NGK Spark Plugs, but not as to any defendant other than NOK Spark

   Plugs, Should the court require a delay between the filing of the complaint and the dismissal, all

   other proceedings in the litigation shall, by virtue of this Agreement, be stayed as to NOK Spark

   Plugs, The California AG and NOK Spark. Plugs agree to take whatever further steps, if any, as

   may be necessary in this regard and agree to seek immediate dismissal of the settlement complaint. •

   NOK Spark Plugs agrees to waive service of process of the settlement complaint filed by the


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  California AG, and the California AG agrees to send promptly a copy of the filed settlement

  complaint to NOK Spark Plugs by Federal Express or electronic mail at an address to be provided

  by NOK Spark Plugs, The California AG and NOK Spark Plugs agree that any such filing shall

  occur in the Eastern District. of Michigan, or in the event jurisdiction is declined in the Eastern

  District of Michigan, then venue shall lie in the Superior Court of the State of California, County

  ofSan Francisco for claims asserted by the California AG. The Flodda AG shall not file any such

  complaint against NOK Spark Plugs or any of the Released Parties.

          7,      The State AGs may hereafter discover facts other than or different from those which

  they know or believe to be true with respect to the Released Claims, but hereby, on behalf of the

  Settling States, expressly waive and fully, finally, and forever settle and release, upon this

  Agreement becoming final, any known or unknown,suspected or unsuspected, contingent or non-

  contingent claim that NOK Spark Plugs and the State AGs have agreed to release, whether or not

  concealed or hidden, without regard to the subsequent discovery or existence of such different or

  additional facts. The'Released Claims do not include any claims (.1) arising out of product liability;

  breach of warranty; breach of contract claims in the ordinary course of business; or (ii) related to

  defeat devices or auxiliary emission control devices(AEC.Ds),including without limitation claims

  related to the design, marketing, calibration, manufacturing, or sale of hardware or software related

  to defeat devices or AECDs; or (iii) failure to disclose; misrepresentation; unfair or deceptive

  conduct not based on allegations of competitor communications, price-fixing, market allocation,

   bid-rigging or anti-competitive conduct.

          8.      The release provided herein shall not. have an effect on any claims, under federal,

   California, or Florida laws, brought by litigants other than the Settling States against the Released

   Parties, including, but not limited to, any claims or potential claims asserted in the Actions on


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  behalf of plaintifil; or putative class members who do .not fall within the foregoing definition of

  California or Florida,

         9.      For the purposes of this Agreement,"Document" is defined to be synonymous in

  meaning and equal in scope to the usage of this term in Federal Rule of Civil Procedure 34(a),

  including without limitation, electronically stored information. A draft or a non-identical copy of

  a document is a separate document within the meaning of this term. The term "English

  Translations" means English translations of documents that were originally written in a language

  other than English that MK Spark Plugs has provided to Government Entities relating to their

  investigations into alleged competition violations with respect to the Released Parts, "Government

  Entities", and individually a "Government Entity" as.used in this Agreement, means the United

  States Department of Justice ("Dal"), the Japanese Fair Trade Commission ("JFTC"), and the

  European Commission ("EC").

          10,    in .return for the release and discharge provided herein, in addition to the settlement

  amounts listed in Paragraphs 1 and 2 above, .NGic. Spark Plugs agrees to the sharing of, disclosure

  or discussion of information or Documents produced or provided pursuant to Paragraphs 11-17 of

  this Agreement and the Class Action Settlement Agreements among the State AGs, End-Payer

  Plaintiffs, and. the Automobile Dealership Plaintiffs, unless the Class Action Settlement

  Agreements fail to receive final approval. Cooperation will take place. consistent with the timing

  set forth specifically below, and in a manner that is in compliance with NMI Spark Plugs'

  obligations to Government Entities, Settling States agree to request such cooperation only when

  and only to the extent reasonably necessary for their continued investigation or prosecution oftheir

  claims related to the Actions, All cooperation shall be coordinated so as to avoid all unnecessary




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  duplication and expense whenever possible and shall not impose undue burden and expense on

  NOK Spark Plugs,

           I.    Identity of Individuals, At the request of the State AGs, within the conditions.

  provided in Paragraph 10, counsel for NaK Spark Plugs shall provide the State AGs with the

  identity of all current and former employees, directors and officers of NOK Spark Plugs who;(1)

  were interviewed and/or prosecuted by a Government Entity in connection with alleged price-

  fixing, bid rigging and market allocation of the 'Released Parts, provided, however, that NOK

  Spark Plugs shall not be required to disclose to the State AGs the specific Government Entity or

  Govern►ment Entities by which each such current or former employee, director, or officer of NGK

  Spark Plugs was interviewed and/or prosecuted; or (2) appeared before the grand jury in the Dal's

  investigation into alleged antitrust violations with respect to the Released Parts,

          12.    Transactional Data,. At the request of the State A0s, within the conditions provided

  in Paragraph l0, NOK. Spark Plugs will use its best efforts to produce on a rolling basis within

  ninety (90) days after such request, existing and reasonably accessible transactional data, as it

  exists in NOK Spark Plugs' electronic databases reasonably retrievable at the time of the request,

  concerning NGK Spark Plugs' sales of the Released Parts incorporated into Vehicles sold in the

  United States and (i) sold to original equipment manufacturers, or (ii) sold. to other purchasers of

  Released Parts ("Transactional Data") from January 1, 1998 through the Effective Date, In

  addition, to the extent Settling States continue to investigate or pursue claims related to the Actions

  with respect to the Released Parts, WA will provide, in response to a written request from a State

  AG, a single production of electronic Transactional Data generated during the two years alter the

  Effective Date concerning Released Parts, as it exists in MK Spark Plugs' electronic databases

  reasonably retrievable at the time of the request, within sixty (60) clays .of the receipt of     such
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 request. NGK shall preserve such transactional data until a motion for final approval of settlement

 agreement against the last defendant in the Actions has been granted. MK Spark Plugs will

 produce Transactional Data only from existing electronic transaction databases, except that, to the

 extent NGK Spark Plugs has not recorded or maintained electronic transaction data for any period.

 between January 1, 1998 and the Effective Date, then NGK Spark Plugs will use reasonable efforts

 to produce existing hard copy records of sales transactions not recorded or maintained

 electronically in the existing electronic sales transaction database, "Vehicle", as used in this

 Agreement, shall refer.to new four-wheeled passenger automobiles, vans, sports utility vehicles,

 and crossover or pick-up trucks.

        13.     Vehicle Identification. At the request of the State AGs, within the conditions

 provided in Paragraph 10, NGK Spark Plugs shall, after conducting a reasonable search and to the

 best of its knowledge, identify those Vehicles sold in the United States from January 1, 2000

 through the Effective Date that contain the Released Parts sold by NGK. Spark Plugs,

         14,    Documents. At the request of the State AGs, within the conditions provided in

 Paragraph 10, NGK Spark Plugs will, no later than thirty (30) days after such a request, produce

(1) Documents, including English translations to the extent they exist, provided by NGK Spark

 Plugs to Government Entities or seized by Government Entities fi•omn NGK Spark Plugs relating

 to their investigation into alleged competition violations with respect to the Released Parts for

 Vehicles sold in the United States;(2) Documents concerning Released Parts in connection with a

 communication, meeting, or agreement regarding Released Parts, by any employee, officer or

 director ofNGK with any employee,officer, or,director of another manufacturer of Released Parts

 for Vehicles sold in the United States, but that were not provided to or seized by Government

 Entities;(3)Documents concerning NGK Spark Plugs' determination of their prices for Released


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  Parts for new Vehicles sold in the United States; and (4) existing and reasonably accessible

  information with respect to requests for quotation by or for original equipment manufacturers

  ("RFQ"), bids submitted in response to RFQs, RFQ award notifications, and post-award price

  adjustments for Released Parts sold in the United States, including any Annual Price Reduction

  (APR)Documents. .1\10K Spark Plugs will not be required to Make available to the State AGs any

   Document whose displosure is prohibited by any court order, foreign or domestic law, or by a .

  Government Entity..

          15,      Attorney Proffers. At the request of the State AGs, within the conditions provided

   in Paragraph 10, NOK Spark Plugs' counsel will make themselves available at a mutually agreed

   location in the United States for up to three (3) meetings of one business day each within thirty

  (30) business days to providean attorneys' proffer of facts known to them. Thereafter, NGK Spark

  Plugs' counsel will make themselves available for reasonable follow-up conversations in

  connection with the attorney's proffers and will use best efforts to respond to questions posed by

  the State AGs,

           16,     Witness 'Interviews.- NGK Spark Plugs further agrees to make available for

   interviews and depositions up to six (6) persons who are directors, officers, and/or employees of

   NGK Spark Plugs at the time of the request, provide up to six (6) declarations or affidavits from

   the same persons and make those persons available to testify at trial, if reasonably necessary. The

   interviews and depositions shall. be conducted at.a mutually agreed-upon location in the United

   States or in London, and each deposition shall be limited to a total of seven (7) hours over one (1.)

   day ►►nless the deposition is in a language other than English, in which case the deposition shall be

   limited to a total of thirteen (13) hours over two (2) days, lithe interview or deposition takes place

   outside the country of the witness's residence, the State AGs shall reimburse half the reasonable


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    travel costs incurred by such persons for time or services. rendered, Such travel expenses may .

    include economy airfare, meals, lodging and ground transportation. Reimbursable expenses shall

    not exceed $1,500 per deponent or witness. If the interview and the above-described deposition

    occur during the Sallie trip, the above limitations will apply to that trip.

           '17,     In addition to its cooperation obligations set forth herein,'1\10K Spark Plugs agrees

    to produce through affidavit(s), declaration(s), and at trial, if necessary, in the State AGs'

    discretion, representatives qualified to authenticate and establish as business records, or otherwise

    establish any other necessary foundation for admission into evidence of any of NCIK Spark Plugs'

    Documents or transactional data produced or to be produced by NOK Spark. Plugs. The State AGs

    agree to use their best efforts to obtain stipulations that would avoid the need to call NOK Spark

   Plugs witnesses at trial for the purpose of obtaining such evidentiary foundations,

            I S.    The California AG agrees that the use of any information or documents provided

    pursuant to this Agreement shall be subject to the terms ofthe Protective Order in In re Automotivo

   Parts Antitrust Litigation, Master File No, 2:12-md-023 1 (E!l,D, Mich)(Dkt, No. 200), to which

    the California AG agrees to be bound, All documents and other information provided pursuant to

    this Agreement will be deemed at least "Highly Confidential," as said designation is described in.

    the Protective; Order, and subject to the Protective Order as if they had been. produced in response

    to discovery requests and so designated, The parties and their counsel .further agree that any

    statements made by NGK Spark Plugs' counsel in connection with and/or as part ofthis settlement,

    including any attorney proffers, shall be governed by Federal Rule of Evidence 408,

    Notwithstanding the foregoing, the State A.G's shall not disclose information obtained from

    attorney proffers to any other non-governmental parties, claimants or potential claimants who did

    not attend such proffers, except with the express written consent of NOK Spark Plugs,


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                 The California AG agrees that the Documents and information provided by NGK

  Spark Plugs pursuant to this Agreement shall be records of investigations conducted by the office

  ofthe Attorney General as that term is used in the California Public Records Act(Cal, Gov't Code

  §6254(f)), and they shall not disclose the information in response to a request for inspection or

  copying under the California Public Records Act(Cal. Gov't Code § 6250 etseq.)or other statutory

  or regulatory provisions akin to the federal Freedom of Information Act, except to the extent

  required by law, To the extent the California AG receives requests that it.believes may require the

  provision of any such information, the California AG shall first advise NGK Spark Plugs and

  afford it an opportunity to take action to maintain the confidentiality ofinformation it has provided

  to the extent NGK Spark Plugs deems necessary • and appropriate and at NGK Spark Plugs'

  expense,

         20.     The Florida AG shall serve, and NGK Spark Plugs agrees to accept service of

  process of, Civil Investigative Demands requesting documents, witness interviews, and testimony

  within the conditions provided in and limited by Paragraphs 10-17 ofthis Agreement, The Florida

  AG shall keep any information or Documents produced pursuant, to the Civil Investigative

  Demands confidential.

         21,     The release set forth in this Agreement shall not release NGK Spark Plugs'

 'obligations to provide cooperation pursuant to this Agreement, as set forth in Paragraphs 10-17

  ofthis Agreement. Unless this Agreement is rescinded, disapproved, or otherwise fails to take

  effect, NGK Spark Plugs' respective obligations to provide cooperation under this Agreeinent

  shall cease whenever ordered by a court or on the date that final judgment has been entered in the

  MDL Litigation for any claims asserted against the parties named as defendants for price-fixing,




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   allocating markets, bid-rigging, or any other forms of anti-competitive conduct in the

    manufacture, sale, or distribution of the Released Parts,

           22,      This Agreement.shall not be deemed or construed to be an admission of liability

   or of any violation of any statute or law or of any wrongdoing by NGK Spark Plugs. Nor shall

   this Agreement be deemed as an admission by NU< Spark Plugs of any of the allegations or

   claims by the Settling. States, This Agreement may not be used by the Settling States or anyone

   else in any pending or future civil, criminal, or administrative action or proceeding against NOK

   Spark Plugs or any of the Released Parties, except in a proceeding or action to enforce this

   Agreethent,

           23.      This Ag'reement does not setae or compromise any claim by the Settling States

    against any defendant or alleged co-conspirator other than the Released Parties. Ail rights

    against such other defendant. or alleged co.,conspirator are specifically reserved by the Settling

    States. Nothing in this Agreement shall affect the right of the Settling State to claim that Joint

    and several liability oldefendants other than the Released Parties includes the volume of sales

    made by NG.K Spark Plugs,

              24.   This Agreement may be;executed in counterparts, each.of which will be deemed

    an original, but which together will constitute one and the same instrument, and a facsimile- -

    signature or PDF signature shall be deemed an original signature for purposes of executing this

    Agreement.

              25.   This Agreement contains the entire Agreement between the parties, and no other

    understandings or agreements, verbal or otherwise, exist between the parties, except as set forth

    herein.




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           26,     This Agreement may not be modified, changed, cancelled, rescinded, amended, or

    varied, nor may any or all of its terms be waived, except by a writing signed by all of the parties.

           27.     Neither the Settling Stalestnor NGK Spark Plugs shall be considered to be the

   drafter of this Agreement or any of its provisions for the purpose of any statute, case law, or rule

   of interpretation or construction that would or might cause any provision to be construed against

   the. drafter of this Agreement,

           28.     Where this Agrecinent requires either party to provide notice or any other

   communication or document to the other, such notice shall be in writing, and such notice,

   conmunication, or document shall be provided by electronic mail or letter by overnight delivery

    to the undersigned counsel of record for the party to whom notice is being provided,

           29,     The California AG and'NGK.Spark Plugs agree that with respect to the settlement

    with California, this Agreement shall be'governed by, construed, and enforced in accordance

    with the laws of the State of California and the parties agree that venue 'for any and all matters or

    disputes arising out (Willis Agreement and asserted by or against: the California AG shall lie

    solely in the U.S. District Court for the Eastern District of Michigan or in the event jurisdiction is

    declined in the :Eastern District of Michigan then venue shall lie in the Superior Court or the

    State of Califilmia, County of San Francisco,

           30.     The Florida. AG and NOK Spark Plugs agree that with respect to the settlement

    with Florida, this Agreement shall be governed by, construed, and enforced in accordance with

    the laws of the State of Florida tend the parties agree that venue for any and all matters or

    disputes arising out of this Agreement and asserted by or against the Florida AG shall lie solely

    in the U.S, District Court for the Eastern District of Michigan or, in the event jurisdiction is




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    declined in the Eastern District of Michigan, then venue shall lie in the Second Circuit Court of

    the State of Florida.

             31,    Each party affirms that this Agreement has been executed by its, authorized

    representative, who is acting within his or her capacity and authority and that by his Or her

•   signature this representative is binding the party on behalf of whom the Agreement Is executed to

    the terms and conditions of this Agreement,


              ,
    Dated: (>177            4_‹.\                          Xavier ,BCCQU'd
                                                           Attorney General of California

                                                           By:
                                                           Kalb een P,, Foote
                                                           Senior Assistant Attorney General
                                                           Anik Banerjee
                                                           Deputy Attorney General
                                                           300 South Spring Street, Ste. 1702
                                                           Los Angeles, CA 90013

                                                           Counselfor the Slate qf Catilbrnk,

    Dated. 27/27/                                          Ashley Moody
                                                           Attorney General
                                                           State of Florida

                                                           By:
                                                           Patricia A, Conners
                                                           Deputy Attorney General
                                                           Timothy M,Fraser
                                                           Assistant Attorney General
                                                           Antitrust Division
                                                           PL.()), The Capitol
                                                           Tallahassee, PL 32399

                                                           Coinuelfir the Slaw ofFlorida


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    Dated:         t\c,/.c22k119                                                     ••., ...,
                                                                                             f,
                                                            Erie P. Ens n                V.
                                                            Jones Day
                                                           .555 S. Flower Street, 50'h Floor

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                                            Los Angeles, CA 90071

                                            Jahn M. Majoras
                                            Jones Day
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